           Case 1:17-sw-00396-TCB Document 1 Filed 07/07/17 Page 1 of 14 PageID# 1
AO 106(Rev. 06/09) Applicationfor a SearchWarrant



                                     United States District Court
                                                                     for the
                                                                         the                                      u-i      - {
                                                         Eastern District of Virginia

               In the Matter of the Search of
                                                                                                                                          J
                                                                        )
         (Briefly describe the property tobe searched                   )                             ^A /
          or identify the person by name andaddress)                    ^                l^lo. 1^17sw3 •
      Linkedln Account Registered to doudz@aol.com                      ^
                                                                        )

                                           APPLICATION FOR A SEARCH WARRANT

        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

 See Attachment A.

located in the             Northern               District of               California          , there is now concealed (identify the
person or describe the property to be seized):

See Attachment B


          The basis for the search under Fed. R. Grim. P. 41(c) is (check oneor more):
                 aTevidence ofacrime;
                 isTcontraband, fruits ofcrime, or other items illegally possessed;
                 • property designed for use, intended for use,or used in committing a crime;
                 • a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
               Code Section                                                         Offense Description
      18 U.S.C. §§371, 793, 794,                  Conspiracy, Gathering, transmitting or losing defense information,
      951 and 1956                                Gathering or delivering defense information to aid a foreign government. Agent of a
                                                  Foreign Government, Laundering of monetary instruments
          The application is based on these facts:

      See Attached Affidavit

           •    Continued on the attached sheet.
           • Delayed notice of                   days (give exact ending date if more than 30days:                           ) is requested
                under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


Reviewed bv AUSA/SAUSA:                                                                     ,   Ar>r,Tinn»t'^ ^}or,niur»
                                                                                            '   Applicant'ss si£
                                                                                                Applicant    signature
  AUSAJohnT.GIbbs                                                                            ^ ^            -   ...     ,
                                                                                         Stephen Green, FBI Special Agent
                                                                                                Printed name and title

                                                                                                          /s/
Sworn to before me and signed in my presence.                                     ^ a>
                                                                                         iicrcsa C arroil Buchanan
                                                                                          Ucd Slates Magistrate Jud^e
Date:            07/07/2017
                                                                                                  Judge's signature

City and state: Alexandria, Virginia                                               Theresa C. Buchanan, U.S. Magistrate Judge
                                                                                                Printed name and title
  Case 1:17-sw-00396-TCB Document 1 Filed 07/07/17 Page 2 of 14 PageID# 2



ATTACHMENT A


DESCRIPTION OF PREMISES TO BE SEARCHED

The PREMISES to be searched is:


          a.    This warrant applies to information associated with doudz@aoI.com that is
                stored at premises owned, maintained, controlled, or operated by Linkedin
                Corporation, a company headquartered at 815 West Maude, Sunnyvale,
                 California 94085;




                                            10
  Case 1:17-sw-00396-TCB Document 1 Filed 07/07/17 Page 3 of 14 PageID# 3



                                        ATTACHMENT B


                                  Particular Things to be Seized

   1.        Information to be disclosed by the ^'Provider"

To the extent thatthe information described in Attachment A is within the possession, custody,

or control of the Provider, regardless of whether such information is stored, held or maintained

inside or outside of the United States, and including any emails, records, files, logs, or

information that has been deleted but is still available to the Provider, or has been preserved

pursuant to a request made under 18 U.S.C. § 2703(f), the Provider is required to disclose the

following information to the government for each account or identifier listed in Attachment A:

        a.      The contents of all emails associated with the account, including stored or

preserved copies of emails sent to and from theaccount, the source and destination addresses
associated with each email, the date and time at which each email was sent, and the size and

length of each email;

        b.      All records or other information regarding the identification of the account, to

include full name, physical address, telephone numbers and other identifiers, records of session
times and durations, the date on which the account was created, the length of service, the IP

address used to register the account, log-in IP addresses associated withsession times and dates,

account status, alternative email addresses provided during registration, otheraccounts linked to

the account via cookie data, methods of connecting, log files, and means and source of payment

(includingany credit or bank account number);

        c.      The types of service utilized;

        d.      All records or other information stored at any time by an individual using the

account, including address books, contact andbuddy lists, calendar data, pictures, andfiles;


                                                  11
  Case 1:17-sw-00396-TCB Document 1 Filed 07/07/17 Page 4 of 14 PageID# 4



       e.      All records pertainingto communications between the Providerand any person

regarding the account, including contacts with support services and records of actions taken; and

       f.      For all information required to be disclosed pursuant to this warrant, the physical

location or locations where the information is stored.

       The Provider is hereby ordered to disclose the above information to the government

within 14 days of the issuance of this warrant.




                                                  12
  Case 1:17-sw-00396-TCB Document 1 Filed 07/07/17 Page 5 of 14 PageID# 5



   11.      Information to be seized by the government

         All information described above in Section I that constitutes fruits, contraband, evidence,

and instrumentalities of violations of 18 U.S.C. § 371,18 U.S.C. § 793,18 U.S.C. § 794,18

U.S.C. § 951, and 18 U.S.C. § 1956, those violations involving Yang Kai and/orKevin Patrick

Mallory and occurring after January 1,2017, including, for each account or identifier listed on

Attachment A, information pertaining to the following matters:

            (a) Communicationsregarding the transmittal or receipt of classified documents or

                other national defense information;

             (b) Communications regarding the content of any classified documents or national

                defense information;

             (c) Communications regarding payment in exchange for the passing of classified
                documents or national defense information;

             (d) Communications with any individual residing within the United States regarding
                taskings at Yang Kai's behest, including theprovision of non-classified

                 information;

             (e) Evidence indicating how and when the account was accessed or used, to
                 determine the geographic and chronological context of account access, use, and

                 events relating to the crime underinvestigation and to the account owner;

             (f) Evidence indicating the account owner's state of mind as it relates to the crime
                 under investigation;

             (g) The identity ofthe person(s) who created orused the user ID, including records
                 that help reveal the whereabouts of suchperson(s).




                                                  13
   Case 1:17-sw-00396-TCB Document 1 Filed 07/07/17 Page 6 of 14 PageID# 6



                   IN THE UNITED STATES DISTRICT COURT FOR THE

                              EASTERN DISTRICT OF VIRGINIA                               7 vjjj /

                                       Alexandria Division



IN RE: SEARCH WARRANT                             )
TO SEARCH LINKEDIN ACCOUNT                        )           CASE NO. 1:17            tP
REGISTERED TO DOUDZ@AOL.COM                       )
                                                  )           Filed Under Seal


                     AFFIDAVIT IN SUPPORT OF SEARCH WARRANT


       I, Stephen Green, after being duly sworn, depose and state as follows:

       1.      I am a Special Agent with the FBI, and have been since 2012. Since 2012,1 have

been assigned to the Washington Field Office, Counterintelligence Division. Since October 2016,

I have investigated offenses involving espionage and the unlawful retention or disclosure of

classified information. I was the affiant on the affidavit in support of a criminal complaint and

arrest warrant, charging Kevin Patrick Mallory (hereinafter Mallory) on June 21, 2017 with

making materiallyfalse statementsto FederalBureau of Investigation (FBI) agents, in violation of

18 U.S.C. § 1001, and Gathering or Delivering Defense Information to Aid a Foreign Government,

in violation of 18 U.S.C. § 794. I was the affiant on the criminal search warrant affidavit regarding

michael.yangkai@gmail.com on June 16, 2017. I adopt the facts contained in that criniinal

complaint affidavit ("the Criminal Complaint Affidavif) and that criminal search warrant affidavit

("the Criminal Search Warrant Affidavit") as true statements for this affidavit and incorporate

them here.


       2.      For purposes of consistency, the naming conventions used in the Criminal

Complaint Affidavit and Criminal Search Warrant Affidavit have been consolidated. The

individual identified as Mallory in the Criminal Complaint Affidavit and as USPERl in the
   Case 1:17-sw-00396-TCB Document 1 Filed 07/07/17 Page 7 of 14 PageID# 7



Criminal Search Warrant Affidavit will be identified as Mallory in this affidavit. The individual

identified as Yang Kai in the Criminal Search Warrant Affidavit and as PRCl in the Criminal

Complaint Affidavit will be identified as Yang Kai in this affidavit.

       3.        This affidavit is submitted in support of an application to search the following

locations or things:

            a.      Linkedln account registered to doudz@aol.com;

            b.      AOL email account doudz@aoLcom;

            c.      Google email account michael.vangkai@.gmail.com.

            d.      Apple records associated with e-mail michael.vangkai@gmail.com.

       4.         Based on the facts set forth in this affidavit (and incorporating the facts

contained in the Criminal Complaint Affidavit and Criminal Search Warrant Affidavit), there is

probable cause that within these locations or things is evidence, more particularly described in

Attachment B, of violations of federal law, including 18 U.S.C. § 371,18 U.S.C. § 793,18

U.S.C, § 794,18 U.S.C. § 951, and 18 U.S.C. § 1956.

       5.        This affidavit is being submitted for the limited purpose of obtaining a search

warrant. As a result, it does not include each and every fact observed by me or known to the

government. When I assert that a statementwas made by an individual, that statement is

described in substance and in part, but my assertion is not intended to constitute a verbatim

recitation of the entire statement. When I assert that an event occurred or a communication was

made on a certain date, I mean that the event occurred or the communication was made "on or

about" that date.


       6.        In addition to the information contained in the Criminal Complaint Affidavit and

Criminal Search Warrant Affidavit, I bring to the Court's attention the following:
   Case 1:17-sw-00396-TCB Document 1 Filed 07/07/17 Page 8 of 14 PageID# 8



        Additional Statutory Authority and Definitions

        7.      Under 18 U.S.C. § 371, "If two or more persons conspire to commit any offense

against the United States, or to defraud the United States, or any agency thereof in any manner or

for any purpose, and one or more of such persons do any act to effect the object of the

conspiracy, each shall be fined under this title or imprisoned not more than fiye years, or both."

        8.      Under 18 U.S.C. § 793(e), "[w]hoever haying unauthorized possession of, access

to, or control over any document... or information relating to the national defense which

information the possessor has reason to belieye could be used to the injury of the United States

or to the advantage of any foreign nation, willfiilly communicates, delivers, transmits or causes

to be communicated, delivered, or transmitted" or attempts to do or causes the same "to any

person not entitled to receive it, or willfully retains the same and fails to deliver it to the officer

or employee of the United States entitled to receive it" shall be fined or imprisoned not more

than ten years, or both.

        9.      Under 18 U.S.C, § 794(a), "Whoever, with intent or reason to believe that it is to

be used to the injury of the United States or to the advantage of a foreign nation, communicates,

delivers, or transmits, or attempts to communicate, deliver, or transmit, to any foreign

government, or to any faction or party or military or naval force within a foreign country,

whether recognized or unrecognized by the United States, or to any representative, officer, agent,

employee, subject, or citizen thereof, either directly or indirectly, any document, writing, code

book, signal book, sketch, photograph, photographic negative, blueprint, plan, map, model, note,

instrument, appliance, or information relating to the national defense, shall be punished by death

or by imprisonment for any term of years or for life, except that the sentence of death shall not be

imposed unless the jury or, if there is no jury, the court, further finds that the offense resulted in
   Case 1:17-sw-00396-TCB Document 1 Filed 07/07/17 Page 9 of 14 PageID# 9



the identification by a foreign power (as defined in section 101(a) of the Foreign Intelligence

Surveillance Act of 1978) of an individual acting as an agent of the United States and

consequently in the death of that individual, or directly concerned nuclear weaponry, military

spacecraft or satellites, early warning systems, or other means of defense or retaliation against

large-scale attack; war plans; communications intelligence or cryptographic information; or any

other major weapons system or major element of defense strategy.

        10.    Under 18 U.S.C. § 951(a), "Whoever, other than a diplomatic or consular officer

or attache, acts in the United States as an agent of a foreign government without prior

notification to the Attorney General if required in subsection (b), shall be fined under this title or

imprisoned not more than ten years, or both."

        11.    Under 18 U.S.C. § 1956(a)(2), "Whoever transports, transmits, or transfers, or

attempts to transport, transmit, or transfer a monetary instrumentor funds from a place in the

United States to or through a place outside the United States or to a place in the United States

from or through a place outside the United States (A) with the intent to promote the carrying on

of specified unlawful activity; or (B) knowing that the monetary instrument or funds involved in

the transportation, transmission, or transferrepresent the proceeds of some form of unlawful

activity and knowing that such transportation, transmission, or transfer is designed in whole or in

part—(i) to conceal or disguise the nature, the location, the source, the ownership, or the control

of the proceeds of specified unlawful activity; or (ii) to avoid a transaction reporting requirement

under State or Federal law, shall be sentenced to a fine of not more than $500,000 or twice the

value of the monetary instrument or funds involved in the transportation, transmission, or

transfer, whichever is greater, or imprisonment for not more than twenty years, or both."

        12.    Pursuant to Executive Order 13526, classified information contained on automated
 Case 1:17-sw-00396-TCB Document 1 Filed 07/07/17 Page 10 of 14 PageID# 10



information systems, including networks and telecommunications systems, that collect, create,

communicate, compute, disseminate, process, or store classified information must be maintained

in a manner that: (1) prevents access by unauthorized persons; and (2) ensures the integrity of the

information.


       13.     C.F.R. Parts 2001 and 2003 regulate the handling of classified information.

Specifically, 32 C.F.R. § 2001.43, titled "Storage," regulates the physical protection of classified

information. This section prescribes that Secret and Top Secret information "shall be stored in a

GSA-approved security container, a vault built to Federal Standard (FHD STD) 832, or an open

storage area constructed in accordance with § 2001.53." It also requires periodic inspection of

the container and the use of an Intrusion Detection System, among other things."

       Linkedin Account registered to Kevin Mallorv using Email address doudz@aol.com

       14.     On or about February 28,2017, open source research indicated the existence of a

Linkedin profile for Mallory. Mallory's profile listed him as a competitive intelligence and

business analystworking at GlobalEx. I know from my trainingand experience that Linkedin is

a communications platform, similar to Facebook, that allows individuals and entities to

communicate and share information.

       15.     During the May 24, 2017 interview with the FBI described at paragraphs 24-33

of the Criminal Complaint Affidavit, Mallory told the agents that he was first contacted by PRC2

via Linkedin. Mallory showed the interviewing agents the Linkedin page for PRC2. The page

indicated the accounts for Mallory and PRC2 were connected as they had five mutual fnends.

As described in Paragraph 24 of the Criminal Complaint Affidavit, Mallory first came in contact

with PRC2, whom he described as a Chinese recruiter, in February 2017. That initial contact led
 Case 1:17-sw-00396-TCB Document 1 Filed 07/07/17 Page 11 of 14 PageID# 11



to phone interviews with PRC2 where Mallory was introduced to a second person that he

described as a potential client, Yang Kai.

       16.    I know, based on my familiarity with this investigation, and as described more

fully below, that the email address doudz@aol.com is registered to Mallory. I also know that

Mallory's Linkedin account is registered in Mallory's name using that doudz@aol.com email

account.


       AOL email account doudz@aol.com


       17.    As described in the Criminal Complaint Affidavit, on or about April 21, 2017,

after a return flight to the United States from Shanghai, Mallory was subjectedto a U.S.

Customs and Border Protection ("CBP") secondary search and interview by CBP at Chicago

O'Hare Airport. During this interaction, Mallory's email address was identifiedas

doudz@aol.com.

       18.    I know, based on my training and experiencethat Yang Kai likely maintains and

uses a number of different communications facilities, including telephone. Voice over Internet

Protocol (VoIP), email and social media to communicate with his contacts such as Mallory. I

know that one email account that he uses to communicate is michael.yangkai@gmail.com.

Through the issuance of criminal process, I have obtained a number of communications between

michael.yangkai@gmail.com and doudz@aol.com. Included in these communications were

emails sent to Mallory on or about February 23, 2017, in which Yang Kai requested "another

short phone call with you to address several points." Several hours later, Mallory sent a message

from doudz@aol.com to michael.yangkai@gmail.com stating, "So I can be prepared, will we be

speaking via Skype or will you be calling my mobile device?"

Google email account michael.vangkai@gmail.com.
 Case 1:17-sw-00396-TCB Document 1 Filed 07/07/17 Page 12 of 14 PageID# 12



       19.    On 14 June 2017, a preservation letter was submitted to Google's Law

Enforcement Request System (LERS) for email account michael.yangkai@gmail.com. The

issuance of criminal process was served to Google on June 16, 2017 via LERS. The criminal

process covered the period starting January 1, 2017. As described above, a number of e-mails

between michael.yangkai@gmail.com and doudz@aol.com were identified. Also includedin the

results was an e-mail that was sent to michael.yangkai@gmail.com from a U.S. Airline with a

confirmation for a flight booked in Mallory's name.

       20.    Along with the e-mails, accountregistration information for

michael.yangkai@gmail.com was provided in the response to criminal process. The

michael.yangkai@gmail.com account was created on November 23, 2011. Based on the

interactions between the michael.yangkai@gmail.com account with Mallory, as well as my

training and experience, I believe thatit is likely thatthe michael.yangkai@gmail.com account

has been used to contact other unknown individuals in violation of 18 U.S.C. § 371,18 U.S.C. §

793,18 U.S.C. § 794,18 U.S.C. § 951, or 18 U.S.C. § 1956. Included in Google's response to

the issuance of criminal process, discussed above, a series of messages on or about March 7,

2017 revealed Mallory requested Yang Kai prepare a mobile phone for Mallory with Mallory's

preference being an Apple phone. Ane-mail was sent on or about March 8,2017 from an

Apple.com e-mail account to Yank Kai's michael.vangkai@gmail.com address. Included with

that e-mail was a receipt for an Apple Iphone 7 with IMEI number 35917807506. In addition,

during the May 24, 2017 interview with the FBI, Mallory toldthe interviewing agents that he

received a brand new iPhone 7 from "them," who, based on the discussion, refers to Yank Kai

and PRC3, Mallory said it was provided as a way to communicate with "them."

       21.    As described in paragraph 28 of the Criminal Complaint Affidavit, Mallory told
 Case 1:17-sw-00396-TCB Document 1 Filed 07/07/17 Page 13 of 14 PageID# 13



the interviewing agents that Yang Kai uhimately provided him with a communications device

that he could use to communicate with Yang Kai. Mallory advised that he suspected that Yang

Kai was an intelligence agent with the People's Republic of China because the type of tradecraft

that Yang Kai employed would be consistent with a person who was in intelligence agent. As

described in paragraphs 34-43 of the Criminal Complaint Affidavit, Mallory uhimately provided

documents, comprising national defense information, to Yang Kai that were classified at either

the Top Secret or Secret level. Mallory also discussed bringing "the remainder of the documents

I have," in the future. Mallory also discussed getting Yang Kai to pay him using a fake name.

          Conclusion


          22.        Based on the foregoing (and incorporating the information in the Criminal

Complaint Affidavit and Criminal Search Warrant Affidavit), there is probable cause to believe

that evidence of violations of federal law, including 18 U.S.C. §§ 371, 793(e), 794(a), 951, and

1956, moreparticularly described in Attachment B, will be found in the following locations and

things:

                a.       Linkedin account registered to doudz@aol.com;

                b.       AOL email account doudz@aol.com;

                c.       Google email account michael.vangkai@gmail.com.

                d.       Apple records associated with e-mail michael.vangkai@gmail.com.
 Case 1:17-sw-00396-TCB Document 1 Filed 07/07/17 Page 14 of 14 PageID# 14



       Wherefore, I request the issuance of a search warrant pursuant to Rule 41 of the Federal

Rules of Criminal Procedure.


       FURTHER THIS AFFIANT SAYETH NOT.




                                            S^nen uteen
                                            Special Agent
                                            Federal Bureau of Investigation
                                            Washington, D.C.


Subscribed and sworn to before me
onJul/^ ,2017.                                  /s/
                                Tlieresa Carroll Buchanan
                                United Slates Magistrate Jud .ue
THE honorable THERESA C. BUCHANAN
UNITED STATES MAGISTRATE JUDGE
